Case 3:17-cv-03087-TLB Document 35                Filed 04/16/18 Page 1 of 1 PageID #: 120




                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                 +$55,621DIVISION


'21$/'%$5721                                                                PLAINTIFF



vs.                                Case No. 


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                               CLERK’S ORDER OF DISMISSAL



       On this 6WKday of $SULO, 201, the parties hereto having filed a Stipulation of

Dismissal pursuant to Rule 41 (a), Federal Rules of Civil Procedure.


       IT IS ORDERED that claims against Experian Information Solutions, Inc. are

dismissed and Plaintiff's complaint is dismissed with prejudice.

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